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                 Exhibit F




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        3    LOS ANGELES, CA 90071-2418
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        4    FACSIMILE: 213.486.0065
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        6    FOLEY & LARDNER LLP
             11988 EL CAMINO REAL, SUITE 400
        7    SAN DIEGO, CA 92130-2594
             TELEPHONE: 858.847.6700
        8    FACSIMILE: 858.792.6773
        9    Attorneys for Defendants AIRCRAFT SERVICE
             INTERNATIONAL, INC.; MENZIES AVIATION
       10    (USA), INC.; and TRACY AGUILAR
       11
                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
       12
                                           FOR THE COUNTY OF SAN FRANCISCO
       13

       14
             GEARY SHA, AN INDIVIDUAL;                       CASE NO: CGC-23-606989
       15
                          PLAINTIFF,                         DEFENDANTS AIRCRAFT SERVICE
       16                                                    INTERNATIONAL, INC.; MENZIES
                   V.                                        AVIATION (USA), INC. AND TRACY
       17                                                    AGUILAR’S NOTICE OF DEPOSITION OF
             AIRCRAFT SERVICE INTERNATIONAL, INC.,           PLAINTIFF GEARY SHA
       18    A DELAWARE CORPORATION; MENZIES
             AVIATION (USA), INC., A DELAWARE
       19    CORPORATION; TRACY AGUILAR, AN                  DATE:       SEPTEMBER 19, 2023
             INDIVIDUAL; AND DOES 1 THROUGH 50, INCLUSIVE;   TIME:       10:00 A.M.
       20                                                    PLACE:      VIDEO CONFERENCE
                          DEFENDANTS.
       21                                                    CASE FILED: JUNE 9, 2023

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                              DEFENDANTS’ NOTICE OF DEPOSITION OF PLAINTIFF GEARY SHA
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        1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
        2           PLEASE TAKE NOTICE that pursuant to California Code of Civil Procedure §§2020.010 and
        3    2025.010 et seq., Defendants AIRCRAFT SERVICE INTERNATIONAL, INC. (hereinafter referred to
        4    as “ASIG”); MENZIES AVIATION (USA), INC. (hereinafter referred to as “Menzies”) and TRACY
        5    AGUILAR (hereinafter referred to as “Aguilar”) (collectively, “Defendants”) will take the oral
        6    deposition of Plaintiff GEARY SHA (“Plaintiff”) on September 19, 2023, commencing at 10:00 a.m., or
        7    at any other date or time mutually agreed upon by the Parties. If said deposition is not completed on that
        8    date, it shall be continued day-to-day thereafter, Saturdays, Sundays and legal holidays excepted, until
        9    complete, or on such other dates as may be agreed upon by the Parties.
       10           The remote video deposition will be taken before a certified shorthand reporter authorized to
       11    administer oaths as provided by the California Code of Civil Procedure. The deposition will be recorded
       12    stenographically, by videotape, and/or by the instant visual display of testimony, as allowed by
       13    California Code of Civil Procedure section 2025.330, subdivision (c). Respondent reserves the right to
       14    use the deposition at trial pursuant to California Code of Civil Procedure section 2025.620.
       15           PLEASE TAKE FURTHER NOTICE:
       16               1.      This deposition will be conducted remotely, using audio-visual conference
       17                       technology, pursuant to California Code of Civil Procedure §§ 2025.220 and
       18                       2025.330;
       19               2.      The deposition may also be recorded via video by a competent operator, pursuant to
       20                       California Code of Civil Procedure §§ 2025.220(a)(5) and 2025.340;
       21               3.      The deposition may also be recorded via LiveNote (real time transcription including
       22                       drafts);
       23               4.      Respondent reserves all rights to introduce portions of the resulting transcript and/or
       24                       audiovisual recording of the deposition at trial;
       25               5.      The court reporter and videographer, if any, will record and capture the deposition
       26                       from a location separate from the Deponent and counsel;
       27               6.      Counsel for the parties and their clients will participate in the deposition from
       28                       various, separate locations;
                                                            1
                                 DEFENDANTS’ NOTICE OF DEPOSITION OF PLAINTIFF GEARY SHA
                                                  CASE NO. CGC-23-606989                                 Page 96
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        1             7.    The court reporter will administer the oath to the Deponent remotely;
        2             8.    Counsel for the Deponent is responsible to ensure that the Deponent has access to
        3                   appropriate equipment to be heard and viewed by other participants, as well as the
        4                   ability to view any exhibits introduced;
        5             9.    Any exhibits will be provided simultaneously and electronically to the Deponent and
        6                   all participants;
        7             10.   If any parties have any objection to proceeding with the deposition remotely, they
        8                   shall state such objections on the record.
        9

       10
             DATE: AUGUST 4, 2023                         FOLEY & LARDNER LLP
       11                                                 CHRISTOPHER WARD
                                                          KEVIN JACKSON
       12

       13

       14                                                 By: ______________________________________
                                                              CHRISTOPHER WARD
       15                                                     Attorneys for Defendants AIRCRAFT SERVICE
                                                              INTERNATIONAL, INC.; MENZIES AVIATION
       16                                                     (USA), INC.; and TRACY AGUILAR
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                             DEFENDANTS’ NOTICE OF DEPOSITION OF PLAINTIFF GEARY SHA
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        1                                             PROOF OF SERVICE
        2    I am employed in the County of San Diego, State of California. I am over the age of 18 and not a party
             to this action; my current business address is 11988 El Camino Real, Suite 400, San Diego, CA 92130-
        3    2594.
        4    On August 4, 2023, I served the foregoing document(s) described as: DEFENDANTS AIRCRAFT
             SERVICE INTERNATIONAL, INC.; MENZIES AVIATION (USA), INC. AND TRACY
        5    AGUILAR’S NOTICE OF DEPOSITION OF PLAINTIFF GEARY SHA on the interested parties
             in this action as follows:
        6

        7     F. Shawn Azizollahi                                  Attorneys for Plaintiff Geary Sha
              Gary Brotman
        8     Marquee Law Group, APC
              9100 Wilshire Boulevard
        9     Suite 445 East Tower
              Beverly Hills, CA 90212
       10     Telephone: 310-275-1844
              Facsimile: 310-275-1801
       11     Email: shawn@marqueelaw.com
                     gary@marqueelaw.com
       12

       13
               X      BY MAIL
       14
                      X       I am readily familiar with the firm’s practice of collection and processing
       15                     correspondence for mailing with the United States Postal Service; the firm
                              deposits the collected correspondence with the United States Postal Service that
       16                     same day, in the ordinary course of business, with postage thereon fully prepaid,
                              at San Diego, California. I placed the envelope(s) for collection and mailing on
       17                     the above date following ordinary business practices.
       18      X      BY E-MAIL
                      X    I served the foregoing document via e-mail to the addressees above at the e-mail
       19                  addresses listed therein.
       20      X      Executed on August 4, 2023, at San Diego, California.
       21      X              I declare under penalty of perjury under the laws of the State of California that
                              the above is true and correct.
       22      X              I declare that I am employed in the office of a member of the bar of this court at
                              whose direction the service was made.
       23

       24                                                    Sonia Moreno
       25

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                                DEFENDANTS’ NOTICE OF DEPOSITION OF PLAINTIFF GEARY SHA
                                                 CASE NO. CGC-23-606989                                Page 98
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